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                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION
                              www.flmb.uscourts.gov

In re:

EIHAB H. TAWFIK, M.D., P.A.,                                 Case No. 3:18-bk-01164-JAF
dba Christ Medical Center,                                   Chapter 11
dba Town Center Medical Celebration,

                              Debtor.
                                                 /

               OBJECTION TO DEBTOR’S EMERGENCY MOTION
              FOR AUTHORITY TO USE CASH COLLATERAL AND
             REQUEST FOR EMERGENCY PRELIMINARY HEARING
                               (Doc. No. 9)

         Central Bank, by and through undersigned counsel, hereby files this Objection to

Debtor’s Emergency Motion for Authority to Use Cash Collateral and Request for

Emergency Preliminary Hearing (Doc. No. 9) (the “Cash Collateral Motion”), and in

support states as follows:

                                    Requested Relief

         Central Bank objects to the Cash Collateral Motion because the Debtor is

attempting to use Central Bank’s cash collateral without providing Central Bank with

adequate protection. The Debtor’s proposed adequate protection of a replacement lien

falls short of adequately protecting Central Bank’s interest in cash collateral which

should include, at a minimum, adequate protection payments, immediate payment and

continuing escrow of personal property insurance, adequate financial reporting, and

inspection rights of the Debtor’s personal property.
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                                       Background

        1.     The Debtor, Eihab H. Tawfik, M.D., P.A. (the “Debtor”) is a Florida

professional association operating out of five medical practices throughout Central

Florida. The Debtor is run principally by its sole shareholder, director and officer, Dr.

Eihab H. Tawfik (“Dr. Tawfik”).

        2.     On or about April 2, 2015, the Debtor executed and delivered to Central

Bank three notes in the original principal amounts of $1,500,000, $780,000 and $500,000

(the “Notes”). Central Bank owns and holds the Notes and, subject to the automatic stay,

is entitled to enforce the same under Florida law. As security for the Notes, the Debtor,

Dr. Tawfik and a related entity, Citrus Diabetes Treatment Center, LLC (the owner of

certain real estate in which the Debtor operates), executed and delivered to Central Bank,

inter alia, a Security Agreement providing Central Bank with a blanket lien on the

Debtor’s personal property. Central Bank filed a UCC-1 to perfect its security interest in

virtually all of the Debtor’s personal property.

        3.     As of the Petition Date, the Debtor owes Central Bank approximately

$2,600,000.00.

        4.     On April 11, 2018, (the “Petition Date”), the Debtor filed a bare-bones

Chapter 11 bankruptcy petition to halt Central Bank’s replevin action filed in the Circuit

Court for the Fifth Judicial Circuit in and for Citrus County, Florida, Case No. 2018-ca-

158 (the “State Court Case”).

        5.     Admittedly, pre-petition the Debtor had significant financial issues, in part

because Medicare challenged the Debtor’s billing practices. See Doc. No. 9. The Debtor




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has not paid Central Bank since December 2, 2017.

           6.       The Debtor provides in its Case Management Summary that the Debtor is

owed approximately $1,600,000 in accounts receivable from Medicare, and it has

personal property with an approximate value of $4,000,000. While this case is in its

infancy and Debtor has not filed any operating reports to date, Central Bank has

significant concerns about the accuracy of the Debtor’s financial reporting. 1 For at least

two years prior to the Petition Date, the Debtor failed to provide financial information to

Central Bank despite Central Bank’s request for this information. Further, before the

Petition Date, Central Bank was chased away from the Debtor’s facility when it

attempted to locate and inspect its physical collateral. As such, it is difficult to gauge the

accuracy of the Debtor’s statements and projection. According to the proposed budget,

however, there is cash available from accounts receivables to provide Central Bank with

monthly adequate protection payments.

           7.       Another significant concern of Central Bank is the condition of the

Debtor’s personal property. Despite difficulties in locating and inspecting its collateral,

Central Bank was able to evaluate the condition of certain personal property through a

third-party inspection. The property report generated as a result of such inspection

indicated the Debtor’s medical equipment has not been adequately maintained.

Additionally, and most concerning, is that the personal property insurance applicable to

the Debtor’s personal property has lapsed.                        Central Bank requires immediate

reinstatement of the personal property insurance to avoid loss of its collateral, and the


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    Upon information and belief Central Bank believes the value of the Debtor’s assets is significantly less.




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listing of Central Bank as a loss payee.

                           Objection to Cash Collateral Motion

        8.      The Cash Collateral Motion fails to protect Central Bank’s interest in its

collateral.   Under 11 U.S.C. §363(c)(2), a debtor may only use, sell or lease cash

collateral if one of two circumstances exist: (1) the secured creditor consents; or (2) the

bankruptcy court approves a debtor’s use of cash collateral in accordance with the other

provisions of the Bankruptcy Code. Section 363(e) of the Bankruptcy Code further

provides that the court “shall prohibit or conduction such use, sale or lease as is necessary

to provide adequate protection of such interest.” 11 U.S.C. § 363(d); In re Empire for

Him, Inc., 1 F.3d 1156, 1160 (11th Cir. 1993). The debtor bears the burden of proof on

the issue of adequate protection. § 363(p).

        9.      The purpose behind the “adequate protection” requirement is to ensure

that the value of a lender’s secured interest in its collateral does not diminish throughout

the course of a chapter 11 case. In re George Ruggiere Chrysler-Plymouth, Inc., 727 F.2d

1017, 1019 (11th Cir. 1984) (citations omitted).

        10.     While section 361 of the Bankruptcy Code provides a few potentially

appropriate forms of “adequate protection,” the Bankruptcy Code does not specifically

define the term. George Ruggiere, 727 F.2d at 1019. In the context of a debtor’s request

to utilize cash collateral, the form of adequate protection provided “must not be illusory,”

but should be “of the most indubitable equivalence.” In re Goode, 235 B.R. 584, 589

(Bankr. E.D. Tex. 1999).

        11.     Here, the adequate protection contemplated in the Cash Collateral Motion




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is illusory. The Debtor fails to provide Central Bank with anything other than the belief

that continuing the Debtor’s operations will adequately protect Central Bank’s interests.

The Debtor fails, however, to provide any evidence to support this assertion or

demonstrate that the value of Central Bank’s security is preserved. Given the significant

pre-petition events that gave rise to the Debtor’s filing, the mere continued operation of

the Debtor fails to provide the necessary adequate protection.

       12.     Central Bank does not flatly oppose the use of its cash collateral, provided

it receives additional and necessary protections such as post-petition payments,

immediate proof of insurance, and various budgetary and reporting requirements to

ensure Central Bank is adequately protected. Accordingly, Central Bank requests the

following adequate protection:

               a)     The payment of monthly adequate protection payments in the

                      amount of $20,010.68, nunc pro tunc to the Petition Date,

                      consistent with the Debtor’s monthly payment obligations to

                      Central Bank;

               b)     A replacement lien in any rents, profits, proceeds, accounts

                      receivable and other personal property to the same extent and with

                      the same validity and priority as its prepetition lien, without the

                      need to file or execute any documents as may otherwise be

                      required under applicable non-bankruptcy law;

               c)     The immediate reinstatement of property insurance covering all of

                      the Debtor’s personal property and proof of same, and the addition




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                       of Central Bank as a loss payee and/or additional insured with

                       respect to such insurance;

               d)      The continued monthly payment into escrow of one-twelfth (1/12)

                       of the Debtor’s personal property tax obligation;

               e)      The right to inspect the Debtor’s personal property upon providing

                       twenty-four (24) hours’ notice to Debtor’s counsel; and

               f)      Significant and detailed reporting regarding the Debtor’s revenues

                       and accounts receivable.

        13.    Finally, Central Bank requests additional information with respect to how

the budget line items were derived and the checks and balances that the Debtor has in

place to protect and account for all cash collateral.

       WHEREFORE, the Central Bank respectfully requests that the Court enter an

order: (i) sustaining its Objection; (ii) granting the Debtor’s Cash Collateral Motion only

to the extent it includes additional adequate protections to Central Bank as set forth

above; and (iii) granting Central Bank such other and further relief as the Court deems

appropriate.


                                               /s/ Megan W. Murray
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                                         Telephone: 813-227-7474
                                         Attorneys for Central Bank


                          CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on April 15, 2018, a true and correct copy of the
foregoing     OBJECTION     TO   DEBTOR’S      EMERGENCY         MOTION       FOR
AUTHORITY        TO   USE    CASH     COLLATERAL         AND    REQUEST       FOR
EMERGENCY PRELIMINARY HEARING was furnished by CM/ECF and/or U.S.
Mail to Eihab H. Tawfik, M.D., P.A., 7394 West Gulf to Lake Highway, Crystal River,
FL 34429; Justin M. Luna, Esq., jluna@lseblaw.com, Latham, Shuker, Eden &
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West Washington Street, Suite 1100, Orlando, FL 32801; and all registered CM/ECF
recipients.
                                         /s/ Megan W. Murray
                                         Attorney




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